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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



TIKTOK INC., et al.,

                        Plaintiffs,

        v.                                           Case No. 20-cv-02658 (CJN)

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                        Defendants.




                              PLAINTIFFS’ NOTICE OF FILING

       At the November 4, 2020 hearing on Plaintiffs’ renewed motion for preliminary injunction,

the Court instructed the parties to keep the Court apprised of any developments related to the

Presidential Order Regarding the Acquisition of Musical.ly by ByteDance Ltd., 85 Fed. Reg.

51,297 (Aug. 14, 2020) (the “Divestment Order”), and the related action of the Committee on

Foreign Investment in the United States (“CFIUS”). Pursuant to that request, Plaintiffs file this

notice to alert the Court that on November 10, 2020, they filed in the U.S. Court of Appeals for

the District of Columbia Circuit the attached petition for review of the Divestment Order and the

related CFIUS action.



DATED: November 10, 2020                    Respectfully submitted,

                                               /s/ John E. Hall              .

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